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 1   Matthew Shayefar, Esq. (SBN 289685)
     Boston Law Group, PC
 2   925 N La Brea Ave
     West Hollywood, California 90038
 3   Tel: 617-928-1806
     Fax: 617-928-1802
 4   matt@bostonlawgroup.com

 5   Val Gurvits, Esq. (pro hac vice forthcoming)
     Boston Law Group, PC
 6   825 Beacon Street, Suite 20
     Newton Centre, Massachusetts 02459
 7   Tel: 617-928-1804
     Fax: 617-928-1802
 8   vgurvits@bostonlawgroup.com

 9   Attorneys for Non-Parties Accuracy Consulting Ltd.
     and Bitseller Expert Limited
10

11                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
12

13    JOHN HUEBNER and IRMIN LANGTON, on                 Case No. 3:14-cv-04735-VC
      behalf of themselves and other similarly situated,
14                                                       [Assigned to the Honorable Vince
         Plaintiffs,                                     Chhabria]
15
      vs.                                                 DECLARATION OF MATTHEW
16                                                        SHAYEFAR
      RADARIS, LLC, a Massachusetts limited
17    liability company;
      RADARIS AMERICA, INC., a Delaware
18    corporation; and
      EDGAR LOPIN, an individual,
19
            Defendants.
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 1                                   Declaration of Matthew Shayefar

 2   I, Matthew Shayefar, declare as follows:

 3          1.       My name is Matthew Shayefar. I am over the age of 18 years. I am an attorney

 4   licensed in the Commonwealth of Massachusetts, the State of California and the State of Florida.

 5   I am counsel to the named Accuracy Consulting Ltd. (“Accuracy”) and Bitseller Expert Limited

 6   (“Bitseller,” and together with Accuracy, “Movants”). I am familiar with the facts herein and

 7   make this declaration from my own personal knowledge.

 8          2.       On March 20, 2018, this Court issued an order (Dkt. No. 60) setting a hearing on

 9   Movants’ Emergency Motion for Relief from Default Judgment (Dkt. No. 54). The Court has

10   required counsel for Movants to appear in person on Thursday, April 5, 2018 at 10:00am at this

11   Court’s courtroom in San Francisco, California.

12          3.       Separately, I am the only counsel to the plaintiffs in the case Tristar Realty

13   Group, LLC v. Koury Engineering & Testing, Inc. et al. pending in the Los Angeles Superior

14   Court (Case No. LC104767). That case is set to go to trial on April 23, 2018.

15          4.       On March 19, 2018, the day before this Court issued its order setting a hearing on

16   Movants’ Motion, the court in the Tristar Realty case issued an order requiring that the

17   representative of my clients in Tristar Realty appear for a deposition on Thursday, April 5, 2018

18   at 1:00pm in Santa Ana, California. A true and correct copy of that order is attached hereto as

19   Exhibit 1. This is the same date that this Court has set for the hearing on Movants’ Motion.

20   Given the scheduling in the Tristar Realty case, including the quickly approaching trial date, it is

21   not feasible to change the date of the April 5 deposition.

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 1           5.       It would be virtually impossible for me to appear for this Court’s hearing at

 2   10:00am in San Francisco and then to appear at 1:00pm in Santa Ana for the deposition. 1 I am

 3   therefore in a position that I will be in violation of at least one of the court orders unless this

 4   Court continues the hearing currently scheduled for April 5 at 10:00am.

 5           6.       On March 28, 2018, I emailed counsel for Plaintiffs in this case to ask whether

 6   they were amenable to a continuance of the hearing in this case. On March 30, Attorney Justin

 7   Kachadoorian responded to my email stating that he was available on April 12, but he did not

 8   indicate that he assented to a continuance. On April 2, 2018, I left a voice message for Attorney

 9   Kachadoorian to explicitly confirm that he did not assent to the continuance, but as of the time of

10   the filing of this document, Attorney Kachadoorian did not return my call.

11

12           I declare under penalty of perjury under the laws of the United States and the State of

13   California that the foregoing is true and correct.

14           Executed on April 2, 2018, in West Hollywood, California.

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16                                                           /s/ Matthew Shayefar
                                                                 Matthew Shayefar
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22     Using Google Flights, the only flight from San Francisco Airport to Santa Ana Airport on April
     5 that leaves after 10am and lands before 1pm is a flight leaving San Francisco at 11am and
23   landing in Santa Ana at 12:38pm. To get to the airport by 10:45am from the San Francisco
     Courthouse I would need to leave the Courthouse no later than 15 minutes after the scheduled
24   start of the hearing.
                                                      3
                                  Shayefar Declaration – 3:14-cv-04735-VC
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                      Exhibit
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